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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL


 Case No.      CV 10-7303-DMG (MANx)                                          Date   February 15, 2011
 Title     Carol Garcia v. Bank of America, N.A., et al.


 Present: The Honorable         DOLLY M. GEE, UNITED STATES DISTRICT JUDGE


                 Valencia Vallery                                             Anne Kielwasser
                   Deputy Clerk                                                Court Reporter


             Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                        Not Present                                             Not Present


 Proceedings:      [IN CHAMBERS] -- ORDER DISCHARGING OSC RE LACK OF PROSECUTION
                   AND GRANTING LEAVE TO FILE FIRST AMENDED COMPLAINT

        On November 23, 2010, this Court granted Defendants' motion to dismiss with leave to amend, allowing
Plaintiff 15 days leave to file a first amended complaint. Because Plaintiff failed to file a first amended
complaint, on January 3, 2011, this Court ordered Plaintiff to show cause in writing by January 14, 2011 why
this action should not be dismissed for lack of prosecution ("OSC"). [Doc. # 13.] On February 3, 2011 and
again on February 8, 2011, Plaintiff filed a response to the OSC explaining counsel's calendar error and
asserting that a first amended complaint was filed on January 26, 2011. [Doc. ## 14, 16.] Plaintiff's counsel is
advised that a first amended complaint has not been filed.

      It is ordered that the OSC is hereby DISCHARGED and Plaintiff is GRANTED leave to file a first
amended complaint no later than February 25, 2011.

         IT IS SO ORDERED.




         CV-90 (2/10)                            CIVIL MINUTES - GENERAL   Initials of Deputy Clerk VRV
